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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 22-CR-20114-KMW


   UNITED STATES OF AMERICA

   v.

   CARLOS RAMON POLIT FAGGIONI,

                  Defendant.


                               DECLARATION OF PUBLICATION

         In accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal Rules of

  Criminal Procedure, notice of the forfeiture in the above-captioned case was posted on an official

  government internet site (www.forfeiture.gov) for at least 30 consecutive days. See Exhibit 1.



                                               Respectfully submitted,

                                               MARKENZY LAPOINTE
                                               UNITED STATES ATTORNEY

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